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 8                                 UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN FRANCISCO DIVISION
11

12   UNITED STATES OF AMERICA,                    Case No. 3:21-CR-00155-JD
                                                  OPPOSITION TO MOTION TO
13                    Plaintiff,
                                                  EXCLUDE DEFENDANT'S
                                                  PROFFERED EXPERT WITNESS,
14          V.
                                                  RODNEY READ
15   CARLOS E. KEPKE,
                                                  Date:        October 17, 2022
16                    Defendant.                  Time:        10:30 a.m.
                                                  Courtroom:   11, 19th Floor
17                                                Judge:       Hon. James Donato
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.      INTRODUCTION

 3           The government has charged Carlos Kepke with one count of Conspiracy to Defraud the

 4   United States in violation of 18 U.S.C. § 371 and three counts of Aiding and Assisting in the

 5   Preparation of a Material False Income Tax Return in violation of 26 U.S.C. § 7206(2). For Mr.

 6   Kepke to be convicted, the jury must find beyond a reasonable doubt that he acted willfully. The

 7   defense intends to call Rodney Read, an experienced tax practitioner at one of the largest and

 8   most respected law firms in the world, to testify that a reasonable practitioner in this highly

 9   complex area oflaw could have believed - emphasis on could - that the foreign non-grantor trust

10   structure Mr. Kepke allegedly created for multi-billionaire Robert Smith (to whom the

11   government in its unreviewable discretion, decided not to charge) was legally compliant.

12           Ultimately, it will be for the jurors to decide whether the government can prove

13   willfulness beyond a reasonable doubt. But for the government to seek to deprive Mr. Kepke of

14   the opportunity to even present a defense would, assuming the jury were to find him guilty, be

15   virtually guaranteed to result in an immediate reversal by the Ninth Circuit. Indeed, it is curious,

16   not to say ironic, 1 that the government would even bring this motion, as they cannot relish the

17   prospect of having to try this case twice.

18           To present a defense on the key element the government must prove-willfulness-Mr.

19   Kepke seeks to call an expert to explain to a jury that there is nothing unlawful per se about

20   foreign non-grantor trusts. Congress chose to allow them and, if properly set-up, they are

21   "perfectly legal."2 This testimony is necessary to combat the government's proffered testimony

22   suggesting that there was something inherently nefarious about the structure that Mr. Kepke put

23   in place for Mr. Smith-and that the government's own expert unequivocally alleges Mr. Smith

24   abused. Without Mr. Read's testimony, the defense would have no way to explain to the jury that,

25   among other things:

26

27   1 The government's attacks on the defense disclosures regarding Mr. Read (ECF No. 64) apply
     with far greater force to the government's own anemic disclosures of proffered expert James
28   Oertel.
     2 DAVID CAY JOHNSTON, PERFECTLY LEGAL, (2005).


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 1                •   Foreign asset protection trusts and foreign non-grantor trusts are valid legal trust

 2                    entities that reputable tax practitioners regularly establish for their clients;

 3                •   There is no legal prohibition against appointing a beneficiary to serve as the trust

 4                    protector, even if that trust protector has the ability to remove and replace the

 5                    trustee of a foreign trust;

 6                •   Foreign (and domestic) trustees owe a fiduciary duty to ensure that trust assets are

 7                    being used exclusively for the benefit of the trust's beneficiaries and to act within

 8                    the restrictions and limitations set forth in the trust instrument;

 9                •   It is not uncommon for the beneficiary of a foreign trust to request that a trustee

10                    take certain actions or execute certain transactions, and it is generally up to the

11                    trustee to review those requests and decide whether to honor or reject them;

12                •   It is also not uncommon for an attorney to continue to use trustees with whom that

13                    attorney has established a relationship over time;

14                •   When one of the goals of a foreign trust is to confer U.S. tax advantages, it is not

15                    uncommon for the trust to own one or more offshore corporations whose shares

16                    are held as trust assets; and

17                •   It is not uncommon for a foreign trust to purchase an asset from a beneficiary,

18                    thereby converting that asset into an asset of the trust. Such a sale does not

19                    necessarily cause the beneficiary to become a "grantor" of the foreign trust.

20   Without this testimony, the jurors would have no way of knowing that every attorney who creates

21   something called a "foreign non-grantor trust" is not, to quote Mr. Dubinsky, acting as a "shill"

22   for his or her client. Again, defendants in criminal cases must be allowed to present a defense.

23   II.      BACKGROUND

24            The charges against Mr. Kepke arise from the alleged tax evasion committed by former

25   co-defendant Robert Smith, the billionaire founder, Chairman, and CEO of private equity firm

26   Vista Equity Partners. As described in excruciating detail in the 136-page report from the

27   government's proffered expert Bruce Dubinsky, the allegations against Mr. Kepke stem from "a

28   purported foreign tax avoidance scheme involving various foreign trust(s) and/or corporate

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 1   structures utilized by [Mr.] Smith ... to avoid federal income taxes ... " ECF No. 62-5, Dubinsky

 2   Report, 1. With Mr. Smith out of the case, 3 the government now seeks to assign full

 3   responsibility for his conduct to Mr. Smith's former tax attorney, Mr. Kepke.

 4           To do that, the government proposes to call Bruce Dubinsky to testify, among other

 5   things, that "[i]n reality, Excelsior Trust was a grantor trust, controlled in all material respects by

 6   Robert F. Smith[,]" (ECF No. 62-5, Dubinsky Report, p. 115, § V (emphasis in original)), that

 7   Mr. Kepke acted "as a shill to do [Mr. Smith's] bidding", (id at, 62), and that the Excelsior

 8   Trust "served only as a means to an end-the avoidance of U.S. taxes .... " Id at, 178. To rebut

 9   that and other testimony, Mr. Kepke seeks only to assert his fundamental right to present

10   witnesses in his own defense, including Rodney Read, a partner in the Tax Practice Group of

11   Baker & McKenzie LLP who regularly assists clients with the structuring and administration of

12   trusts, the formation of tax efficient structures for investment in the United States, and the United

13   States tax issues related to beneficiaries. 4

14           Per the Court's March 3, 2022 Scheduling Order, the defense disclosed to the government

15   Mr. Kepke's intent to call Mr. Read as an expert. See Government's Daubert Motion ("Govt's

16   Mot.", ECF No. 61), Ex. 1. When the government raised concerns about the sufficiency of that

17   disclosure a week later, on June 10, 2022, the defense quickly offered to set up a call to discuss

18   the government's objections. Declaration of Grant P. Fondo ("Fondo Deel."),, 2. During that

19   call, which took place on June 22, 2022, Mr. Kepke's attorneys disagreed with the government's

20   claim that its expert disclosure was insufficient and that an "expert report" was required, but

21   nonetheless agreed to supplement its summary of Mr. Read's expected testimony. Fondo Deel.,,

22   3. Following that meeting, the parties agreed to re-engage at the end of July to discuss whether

23   the government needed more time to file a Daubert motion. Fondo Deel., , 4.

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26   3 Press Release, The United States Department of Justice, Private Equity CEO Enters into Non-
     prosecution Agreement on International Tax Fraud Scheme and Agrees to Pay $139 Million, to
27   Abandon $182 Million in Charitable Contribution Deductions, and to Cooperate with
     Government Investigations (Oct. 15, 2020), https://www.justice.gov/opa/pr/private-equity-ceo-
28   enters-non-prosecution-agreement-international-tax-fraud-scheme-and-agrees.
     4 The government does not challenge Mr. Read's qualifications, so we will not belabor them here.


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 1             Without any further prompting by the government, the defense provided both a

 2   supplemental expert disclosure and rebuttal expert disclosure on July 22, 2022-a full four

 3   months before trial. See Govt's Mot., Exs. 2 & 3; Fondo Deel.,, 5. The government did not

 4   raise any further objection to those disclosures, nor did they request any additional time before

 5   filing the instant Daubert motion. Fondo Deel.,, 6.

 6   Ill.      LEGAL STANDARD

 7             The defense is required to provide the government "a written summary of any testimony

 8   that the defendant intends to use under Rules 702, 703, or 705 of the Federal Rules of Evidence as

 9   evidence at trial" which must "describe the witness's opinions, the bases and reasons for those

10   opinions, and the witness's qualifications[.]" Fed. R. Crim. P. 16(b)(l)(C).

11             The Court may properly admit testimony regarding "scientific, technical, or other

12   specialized knowledge" if the testimony "will help the trier of fact to understand the evidence or

13   to determine a fact at issue." See Fed. R. Evid. 702. The person providing expert testimony must

14   possess "knowledge, skill, experience, training, or education" regarding the subject about which

15   they propose to testify. Id. The expert's testimony must be (1) "based on sufficient facts or

16   data," (2) "the product of reliable principles and methods," and (3) must demonstrate that the

17   witness has "reliably applied the principles and methods to the facts of the case." Id. In short, the

18   expert's testimony must be both "reliable" and "helpful." Id.; see also Daubert v. Merrell Dow

19   Pharms., Inc., 509 U.S. 579, 591 (1993).

20             While the trial court serves as a gatekeeper, its judgment is not intended to replace the

21   adversary system. See Dorn v. Burlington N Santa Fe R.R. Co., 397 F.3d 1183, 1196 (9th Cir.

22   2005) (finding it error to bar testimony that would have discredited opposing expert's opinions

23   concerning hedonic damages); see also Micron Chem. Inc. v. Lextron, Inc., 317 F.3d 1387, 1392

24   (Fed. Cir. 2003) ("The Advisory Committee note further counsels that 'the trial court's role as

25   gatekeeper is not intended to serve as a replacement for the adversary system."') "Vigorous cross-

26   examination, presentation of contrary evidence, and careful instruction on the burden of proof'

27   remain the appropriate means of attacking challenged evidence. Dorn, 397 F.3d at 1196 (quoting

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 l   Daubert, 509 U.S. at 596). Accordingly, the rejection of expert testimony is the exception, not

 2   the rule. See Advisory Committee Notes to Fed. R. Evid. 702 (2000 Amendments).

 3   IV.      ARGUMENT
              A.     The Defense Made Adequate, Timely Disclosures that Do Not Warrant
 4
                     Depriving Mr. Kepke of his Right to Present a Defense.
 5                   1.      The Defense's Expert Disclosures are Adequate.
 6            The defense's expert disclosures are not only adequate, but they were also timely made.
 7   Moreover, the government cannot point to any bad faith on the part of the defense that would
 8   warrant the exclusion of Mr. Read. In fact, many of the cases cited by the government actually
 9   support the adequacy and timeliness of the defense's expert disclosures.
10            In United States v. Cerna, for example, the court found that a majority "of the 24 expert
11   summaries disclosed" "adequately describe the expert's opinions, the bases and reasons for those
12   opinions, and the witness's qualifications." No. 08-CR-00730-WHA, 2010 WL 2347406, at *2
13   (N.D. Cal. June 8, 2010). The court stated: "Rule 16[] does not require recitation of the chapter
14   and verse of the expert's opinions, bases and reasons. No rule, statute, or decision necessitates
15   such comprehensive disclosure." Id. In other words, the defense is not required to provide a 136-
16   page report, as the government did, to "describe the differences and similarities at issue," to
17   "describe the regulations at issue," or to "describe the statutes at issue." Govt's Mot., at 6. That is
18   not the standard. In fact, in Cerna, a summary provided by the government for one of its experts
19   that the court found to be perfectly adequate was the following:
20            Among other things, Abaun will testify about the analysis of gunshot residue
              swabs taken from Erick Lopez and Carlos Garrido ... She will testify that both ...
21            had gunshot residue on at least one hand, which suggests that Lopez and Garrido
              either fired a gun, was in close proximity to a gun as it was discharged, and/or
22            touched a gun or other object with gunshot residue on it.
23   2010 WL 2347406, at *2.
24            Similarly, the defense disclosed that "Mr. Read may offer expert opinions concerning
25   foreign trust entities, including but not limited to, the following," and proceeded to lay out four
26   bullet points and seven sub-points of summaries of Mr. Read's anticipated opinions such as that
27   "[f]oreign asset protection trusts and foreign non-grantor trusts are valid and legal trust entities"
28   and that "[i]t is not uncommon to establish a trust in a foreign jurisdiction that has a lower income

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 1   tax rate than the United States in contemplation of potential United States income tax reduction or

 2   deferral." Govt's Mot., Ex. 2. Such opinions are valid and relevant in light of the government's

 3   allegations that Mr. Kepke is guilty because of his role in creating an offshore structure that

 4   allegedly was designed from the outset to evade U.S. taxes.

 5          As for Mr. Kepke's rebuttal disclosure of Mr. Read, the defense summarized the specific

 6   opinions from the government's proffered expert that Mr. Read would be asked to rebut, namely,

 7   "Bruce G. Dubinsky's testimony regarding offshore trust entities, opining on how they are

 8   created; for what purpose they are created, including for the legal purposes of avoiding taxes and

 9   protecting assets; and the various actors involved in the creation and operation of the entities."

10   Id at Ex. 3. The government is presumably well-aware of what testimony it hopes to elicit from

11   its own expert. The defense's disclosure referred to specific targeted opinions-out of a 136-page

12   report-that Mr. Read intends to rebut.

13          As for the bases and reasons for Mr. Read's expert opinion, the Cerna court found the

14   following government summary to be adequate:

15          Abaun's testimony will be based on her experience and training and her analysis of
            gunshot residue samples collected from Lopez and Garrido on or about January 8,
16          2006, which confirmed that gunshot residue particles-notably lead, barium, and
            antimony-were detected in samples taken from Lopez and Garrido.
17
     2010 WL 2347406, at *2.
18
            Mr. Kepke almost identically disclosed that "Mr. Read's expert testimony may be based
19
     on his education, his professional experience, and a review of the documents and information
20
     relating to this matter ... ". Govt's Mot., Ex. 2. As for Mr. Read's qualifications, the defense
21
     tendered Mr. Read's curriculum vitae, which included a thorough summary of his background
22
     and experience. Id.
23
            The defense's disclosures are not at all like the ones this Court found to be both "a day
24
     late and a dollar short" in United States v. Valdez, 18-cr-00608-JD, 2019 WL 539074, at *2 (N.D.
25
     Cal. Feb. 11, 2019). In that case, this Court found that the government's proffered DNA evidence
26
     was insufficient because it consisted of "mere generalities" that "do not state what the substance
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 1   of [the witness's] testimony will be." Id at *3. 5

 2           Perhaps the most important difference between our case and Valdez is who is proffering

 3   the testimony. The government does not have a constitutional right to present evidence, but the

 4   defense does. See United States v. WR. Grace, 526 F.3d 499, 515 (9th Cir. 2008) (distinguishing

 5   cases that "involved a defendant's right to present evidence, not the government's, and [therefore

 6   have] no bearing here."). It is not reversible error to exclude cumulative evidence offered by the

 7   government, while it would be reversible error, Mr. Kepke respectfully submits, to deprive the

 8   defense of the testimony of its only proffered expert.

 9           United States v. Duvall, a Seventh Circuit case cited by the government to support its

10   position that the defense's disclosures were inadequate, is easily distinguished. Although the

11   court found in that case that the government's expert disclosures were insufficient, it ultimately

12   found that the trial court's refusal to exclude them was harmless. 272 F.3d 825, 829 (7th Cir.

13   2001) ("Duvall did not identify ... any prejudice that could have been avoided by a more detailed

14   notice .... "). In addition, the Duvall court discussed United States v. Jackson, 51 F.3d 646 (7th

15   Cir. 1995), in which it had held that a similarly brief notice was adequate because it "at least

16   identified the expert's actual opinion (that narcotics traffickers often secure locations such as

17   houses or apartments to serve as a base for dealing narcotics)." Id at 829. Here, the defense's

18   disclosures provide such opinions as well. See Govt's Mot., Ex. 2. ("It is not uncommon for the

19   beneficiary of a foreign trust to request that a trustee take certain actions or execute certain

20   transactions, including investments or purchases" and "It is not uncommon that when an attorney

21   identifies a trustee that is reliable and responsive, that the attorney continues to utilize the same

22   trustee for other clients.").

23                   2.       The Defense's Expert Disclosures are Timely.

24   The government's assertion that the defense's disclosure of supplemental and rebuttal disclosures

25   "several weeks after the due date for expert disclosures" (Govt's Mot., at 4) were untimely

26   mischaracterizes the events leading up to those disclosures, as well as ignoring that Mr.

27

28   5 As an alternative ground, this Court excluded the government's proffered evidence under Rule
     403 of the Federal Rules of Evidence. Valdez, 2019 WL 539074, at *4.
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 1   Kepke's rebuttal disclosure was, in fact, provided on the date it was due. As noted above, Mr.

 2   Kepke timely made his initial disclosure regarding Mr. Read on June 3, 2022. See Govt's Mot.,

 3   Ex. 1. After the government objected, Mr. Kepke supplemented his disclosure in a good faith

 4   effort to address the government's concerns. It is one thing for the government to argue that even

 5   the supplemental disclosure is insufficient - that is fair, even if it is wrong - but to complain

 6   about its timing is a low blow. As disclosures were provided four months before trial, the

 7   government's trial preparation has not been prejudiced in any way.

 8          Moreover, Mr. Kepke's disclosures are not at all like the disclosures in United States v.

 9   Baras, cited by the government to support their assertion that Mr. Kepke's disclosures should be

10   excluded as untimely. No. CR 11-00523 YGR, 2014 WL 129606 (N.D. Cal. Jan. 14, 2014).

11   There, Judge Gonzalez Rogers excluded only a portion of the defense expert's proffered

12   testimony, and that portion only because it was filed in a supplemental report prepared one week

13   after the court had ruled on the parties' motions in limine. Id. at *3. Such timing, Judge

14   Gonzalez Rogers found, "suggest[ed] that Defendant is attempting to find a back door through

15   which otherwise inadmissible evidence could be proffered to the jury." Id.

16          Mr. Kepke's expert disclosures do no such thing. The government was timely notified of

17   Mr. Read's anticipated testimony-well before trial and not as a means to admit otherwise

18   inadmissible evidence-in keeping with Rule 16's "inten[t] to minimize surprise that often results

19   from unexpected expert testimony, reduce the need for continuances, and to provide the opponent

20   with a fair opportunity to test the merit of the expert's testimony through focused cross-

21   examination." Id.

22          Nor is the timing of the defense's disclosures even remotely close to the facts in United

23   States v. Ornelas, cited by the government for the proposition that it is appropriate to exclude

24   expert testimony, not as a sanction, but rather because of a disregard for the court's pretrial order

25   setting disclosure deadlines. 906 F.3d 1138, 1150-51 n.14 & 15 (9th Cir. 2018); Govt's Mot. at 5.

26   There, expert disclosures were produced months after they were due and a "mere five days before

27   trial." Id., 906 F.3d at 1150.

28          Moreover, the government has pointed to no omission by the defense "willfully done to

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 1   gain a tactical advantage." United States v. Finley, 301 F.3d 1000, 1018-19 (9th Cir. 2002) (also

 2   citing United States v. Peters, 937 F.2d 1422, 1426 (9th Cir. 1991) in which the Ninth Circuit

 3   held that the district court erred in excluding expert testimony because no willful or blatant

 4   discovery violation occurred). In fact, Finley, cited by the government, actually supports the

 5   defense in that the Ninth Circuit found that although "[t]he disclosure may not have been as full

 6   and complete as it could have been or as the government would have liked," ''the disclosure met

 7   the minimum requirements of Rule 16(b)(l)(C)" because the defendant provided "sufficient

 8   notice of the general nature of' the expert's testimony. Id. at 101 7. Here, the government's

 9   objections are that the defense's expert disclosures are not as full and complete as the government
10   would have liked. But that is not the test. Mr. Kepke's disclosures are more than adequate to

11   meet at least the minimum requirements of Rule 16.

12          Furthermore, as recognized by the Supreme Court, "'[flew rights are more fundamental
13   than that of an accused to present witnesses in his own defense."' Id at 1018 (quoting Taylor v.

14   Illinois, 484 U.S. 400,415 (1988)); see also United States v. Lague, No. 17-cr-00150-HSG-1,

15   2018 WL 3429127, at *1-2 (N.D. Cal. July 16, 2018) ( "drastic remedy" of exclusion of defense

16   expert would be "disproportionate to the alleged harm suffered by the government."). Mr. Read's

17   testimony is essential to the defense because he will establish a factual predicate for the jury to

18   conclude that Mr. Kepke did not act willfully.

19         Because the defense's expert disclosures are adequate and timely, the Court should not
20   prevent Mr. Kepke from putting on his defense, in part, through the expert testimony of Mr. Read.

21          B.    Mr. Read's Anticipated Opinions are Proper.

22          The government argues that Mr. Read's opinions are improper legal conclusions and

23   should be excluded because ... well, because courts have excluded legal experts in some other

24   criminal tax cases. Both assertions are wrong. First, Mr. Read is not being called upon to offer

25   any improper legal opinions. Second, even if it is true that courts sometime exclude legal experts

26   in criminal tax cases, the contrary is also true: such experts are frequently permitted to testify.
27   The decision the Court must make comes down to what the legal expert is being asked to testify

28   about. And where, as here, that expert is not telling the jury how to apply the law in regards to

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 1   the facts of this case, but rather simply to explain to them that foreign grantor trusts can, and very

 2   often are, operated in a legal manner (to support a defense that Mr. Kepke's conduct was not

 3   willful), such testimony is absolutely permissible and to exclude it would almost surely be

 4   reversible error.

 5           It is important to clarify what exactly qualifies as an improper legal conclusion. Simply

 6   because an attorney is offered as an expert to provide certain opinions does not mean every

 7   opinion he or she has is a "legal conclusion." In fact, the cases cited by the government actually

 8   make clear that Mr. Read's proffered opinions are not legal conclusions. In Hangarter v.

 9   Provident Life and Acc. Ins. Co., the Ninth Circuit stated that a legal conclusion is "an opinion on

10   an ultimate issue oflaw." 373 F.3d 998, 1016 (9th Cir. 2004). In that case, the Ninth Circuit held

11   that plaintiffs expert testimony that defendants failed to comport with industry standards was not

12   a legal conclusion because the expert "never testified that he had reached a legal conclusion that

13   Defendants actually acted in bad faith (i.e., an ultimate issue oflaw)." Id. Such a testimony that

14   "relied in part on his understanding of the requirements of state law" is not improper because "a

15   witness may refer to the law in expressing an opinion" and the testimony was "ancillary to the

16   ultimate issue of bad faith." Id. at 1016-17.

17           Here, the ultimate issue is whether Mr. Kepke willfully assisted or conspired with Mr.

18   Smith to evade the income taxes Mr. Smith owed. Mr. Read's anticipated opinions that, for

19   example, "[t]here are no legal prohibitions against appointing a beneficiary as the trust protector,

20   which may include the power to remove and replace the trustee of a foreign trust," and that "[i]t is

21   not uncommon for a foreign trust to purchase an asset from a beneficiary, which then become an

22   asset of the trust[, and that such a] sale does not necessarily cause the beneficiary to become a

23   grantor of the foreign trust[,]" (Govt's Mot., Ex. 2), may properly rely on Mr. Read's

24   understanding of applicable tax and trust laws. Such opinions do not go so far as to assert that Mr.

25   Kepke is not guilty of willfully assisting or conspiring with Mr. Smith to evade income taxes-

26   again, that ultimate issue is for the jury to decide.

27           Additionally, Mr. Read's testimony does not "attempt to instruct the jury on the law, or

28   how to apply the law to the facts of the case," ( United States v. Diaz, 876 F .3d 1194, 1198-99 (9th


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 1   Cir. 2017), all of which the Ninth Circuit has found constitute impermissible legal conclusions.

 2   As with Dr. Chavez's testimony in Diaz, Mr. Read's testimony would help a lay jury understand

 3   and evaluate whether the trust structures Mr. Kepke set up were inherently improper and designed

 4   to be operated in violation of U.S. tax law. See Diaz, 876 F.3d at 1999 (finding Dr. Chavez's

 5   testimony helpful to lay jury because "a lay jury would not have the requisite knowledge to

 6   evaluate whether the dosage, mix, and course of narcotics prescribed by Diaz were medically

 7   appropriate for the conditions being complained for by his patients.").

 8           The government is therefore dead wrong in asserting that Mr. Read's opinions would be

 9   ''tantamount to testimony that, in his opinion, Defendant's actions were legal." Govt's Mot., at 8.

10   Mr. Read will not be asked whether he believes that, in designing Mr. Smith's trust the way he

11   did, Mr. Kepke acted lawfully. That of course would be improper. But for Mr. Read to testify that

12   a foreign non-grantor trust is not inherently designed to evade U.S. income tax is another thing

13   entirely. To exclude such testimony would deprive Mr. Kepke of his constitutional right to

14   present a defense.

15           Turning, finally, to the government's argument that Mr. Read's testimony should be

16   excluded because, hey, everyone's doing it ("courts regularly exclude legal experts in criminal tax

17   cases" -- Govt's Mot., at 8), that, too, is incorrect. In fact, only one 6 of the cases cited by the

18   government is from the Ninth Circuit, and none are from this district or even from California.

19   There are counter-examples in which testimony from legal experts was admitted in criminal tax

20   or fraud cases. In United States v. Lanlford, for example, the Court found that the trial court's

21   exclusion of the defense's expert ("a certified public accountant, certified financial planner, and

22   tax lawyer") was an abuse of discretion, and the expert should have been allowed to testify ''that a

23   legitimate and well-founded legal analysis would have supported the reasonableness" of the

24   defendant's belief. 955 F.2d 1545, 1551 (11th Cir. 1992). And in United States v. Riddle, a bank

25   fraud case, the court reversed the defendant's conviction in part based on the lower court's

26   decision to exclude the defense's expert, "an expert in banking regulation who teaches law at the

27
     66 United States v. Boulware, 558 F.3d 971, 974-75 (9th Cir. 2009) (upholding exclusion of
28   portions of expert's testimony that "corporate distributions were legally non-taxable, either
     because they were loans, monies placed in trust, or returns of capital").
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 1   University of Houston," because the exclusion "handicapped the ability of the defense to tell the

 2   jury its own version of how banks operate and what precautions bankers such as [defendant]

 3   know they should take." 103 F.3d 423,427 (5th Cir. 1997).

 4           Although not a criminal case, another example is Leeds LP v. United States, in which

 5   plaintiff offered the testimony of a licensed California attorney who "specialized in family estate

 6   planning, published seven books pertaining to trust administration and fiduciary responsibilities,

 7   and is a regulation lecturer on estate planning" to provide expert testimony. No. 08CV100 BTM

 8   (BLM), 2010 WL 3911429, at *2 (S.D. Cal. Oct. 5, 2010). The plaintiff retained the expert "'to

 9   provide expert witness testimony on the formation, structure, and use of trusts and limited

10   partnerships in business and family settings.'" Id at *1. "In his expert report, [plaintiffs expert]

11   states that generally, use oflimited partnerships and trusts 'represent[] good business practice'

12   and 'are also legitimate and appropriate tools for estate planning purposes,"' and those opinions,

13   along with others that are challenged by the government here as being impermissible legal

14   conclusions, were found to be proper. Id

15   V.      CONCLUSION

16           The right of a criminal defendant to present a defense is sacrosanct under our system of

17   justice. The motion to exclude Mr. Kepke's only proffered expert witness must be denied. Once

18   Mr. Read testifies, the government is certainly entitled to do everything it can to undermine his

19   testimony through vigorous cross-examination. But to exclude his testimony out of the gate,

20   while permitting government experts to testify that everything Messrs. Smith and Kepke did was

21   improper, would be tantamount to a directed guilty verdict and would almost certainly result in

22   our having to try this case again in a year or two. Accordingly, the government's request to

23   prevent Mr. Read from testifying must be denied.
                                                Respectfully submitted,
24
     Dated: August 19, 2022                       By: Isl Grant P. Fondo
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26                                                    GOODWIN PROCTER LLP
27                                                     Attorney for Defendant:
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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the

 3   United States District Court for the Northern District of California by using the CM/ECF system

 4   on August 19, 2022. I further certify that all participants in the case are registered CM/ ECF users

 5   and that service will be accomplished by the CM/ECF system.

 6          I certify under penalty of perjury that the foregoing is true and correct. Executed on

 7   August 19, 2022.

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 9                                                             Isl Grant P. Fonda
                                                               GRANT P. FONDO
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